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LBKG 2018-05-31 no 678

Tax Administration Act

§8

As last amended by: L 2017 688 § 1 paragraph 1 no. 10 , L 2017 688 § 1 paragraph 1 no. 12 ,
L 2017 688 § 1 paragraph 1 no. 11 , L 2017 688 § 1 paragraph. 1 no. 9 and
L 2017 688 § 1 paragraph 1 no. 8

Effective: 2018-01-01

The Minister of Taxation determines the country's categorization of tax, assessment and motor
credit claims, the number of members in the individual appeals boards, and which municipalities
have the right of nomination under paragraphs 3 and 4 for seats in the tax and assessment boards.
When allocating the seats, it must be taken into account that all municipalities must have at least
one representative in the tax appeals board.

Paragraph. 2. The ordinary term of office for the Appeals Board is 4 years and begins on July 1st
in the year when the legislature commences.

Paragraph. 3. The Tax Minister, or its authorized representative, appoints members to the tax
office and a deputy for each of these members on the recommendation of the municipal councils
the municipalities which comprise the tax appeals board. Only persons who are eligible for
municipal council seats can be nominated by the municipal council in question. Each municipal
council must nominate one person to each of the municipality's seats on the board and one
alternate. § 25 of the law on municipal authorities applies correspondingly. The Tax Minister, or
its authorized representative, appoints the nominated persons and alternates. The Minister may,
however, under special circumstances, refrain from appointing a nominated person and request
the local council to nominate another person.

Paragraph. 4. The Tax Minister, or its authorized representative, appoints members to the
assessment board. Half of the members are appointed on the recommendation of the local
council. The method of appointment used by the municipal council is the one described in § 25
which is the governing law on municipal authorities. Of the other half of the members, half are
nominated by Finance Denmark 1 and the remainder by the Danish Real Estate Agency2 as
professionals with competent assessment skills and local knowledge. The municipalities, Finance
Denmark, and Danish Real Estate Agency can only nominate persons who are eligible to hold
municipal seats in this country. The Minister may, however, under special circumstances, refrain
from appointing a nominated person and request the local council, Finance Denmark, or the
Danish Real Estate Agency to nominate another person.



1
  Transl. from Finans Danmark which is a private interest organization for banks and mortgage-credit institutes,
asset management, securities trading and investment funds in Denmark.
2
  Transl. from Dansk Ejendomsmæglerforening which is an industry association for real estate agencies and people
engaged in real estate brokerage
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Paragraph. 5.

The Minister of Taxation, or the person authorized by the Minister, appoints members of the
Motor Vehicle Board and an alternate for each of these members. At least two of the members
are appointed on the recommendation of the main organizations of car owners. One of the
nominated members and their deputy must have technical knowledge and one of the nominated
members and their deputy must be trade experts. The remaining members are nominated by
dealer organizations in the car industry. The organizations must nominate one person for each
Board seat and one person as an alternate member of the Board. Only people who are eligible for
a municipal seat in this country can be nominated. The Minister of Taxation, or its authorized
representative, appoints the nominated persons to members and alternates respectively. However,
the Minister may, under special circumstances, refrain from appointing a nominated person and
request the organization to nominate another person

Paragraph. 6. Individuals nominated under paragraphs 3, 4, or 5 are obliged to receive the
appointment by the Minister of Taxation unless they are prevented from doing so pursuant to
§15. However, the following persons may notify the Minister of Taxation that they do not wish
to receive the appointment:


1)     People who will have reached the age of 60 at the beginning of the term of office.

2)     People who have been a member of a tax, assessment or motor vehicle board for two
       consecutive terms.

3)     People who do not have Danish nationality.

4)     People, who due to the state of their health, the provisions of another public office,
       business and the like, have a reasonable basis to be exempt from such duties
